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MEMPHls DlvisloN 01 l~;,§ w ».j_
23 .l.t~i l.g.- 55
uNlTED sTATEs oF AMERicA
-v- 2:04cR20129-01-B
sEAN A. RusH

Jeffrev Jones, Ftetained
Defense Attorney

6471 Stage Road, Suite 201
Memphis, TN 38134

 

A*|VI*E*N*D*E*D JUDGN|ENT |N A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 2,3 & 6 of the indictment on November 02, 2004.
According|y, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tit|e & Section MLM Offense Number(s)
Conclucled

21 U.S.C. § 846 and Aiding & A|oetting in the Attempt to 02/25/2004 2
18 U.S.C. § 2 Manufacture Nlethamphetamine
21 U.S.C. § 843(a)(6) and Aiding & Abetting in the Un|awful 02/25/2004 3
18 U.S.C. § 2 Possession of Equipment &

Chemicais Usec| to N|anufacture

i\/lethamphetamine
21 U.S.C. § 841(0) and Uniawfu| Possession of 02/25/2004 6
18 U.S.C. § 2 Pseudoephec|rine With intent to

Nlanufacture |V|ethamphetarnine

The defendant is sentenced as provided in the following pages of this judgmentl The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vtandatory
Victims Flestitution Act of 1996

Count(s) 1,4 & 5 are dismissed on the motion of the United States.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/04/1972 February 03, 2005
Deft’s U.S. |V|arshal No.: 19507-076

Defendamls Mai|ing Address: This document entered on the d k

. t .
6563 S. Earheart Drive With ama 55 andmr 32@ FHCFPO: 9 Y:Hn§mpi:ance
Ban:eu, TN 38134 " 0 5

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Case No: 2:04CF%20129-01 Defendant Name: Sean A. RUSH Page 2 of 6

    

 

J. DAN|EL BFIEEN
U |TED STATES D|STR|CT JUDGE

P't
-Fe;iaary 2_/\/ , 2005

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Case No: 2:04CFt20129-01 Defendant Name: Sean A. RUSi-l Page 3 of 6
IIVIPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 78 Months.

The Court recommends to the Bureau of Prisons: that the defendant be housed in
a facility in or near Arkansas.

The defendant is remanded to the custody of the United States |Vlarshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES |ViAHSHAL
By:

Deputy U.S. Marshai

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Case No: 2:04CFt20129-01 Defendant Name: Sean A. RUSl-i Page 4 of 6

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 ¥ears.

The defendant shall report to the probation office in the district to which the
defendant is released Within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distributel or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedu|e of Payments set
forth in the Criminai Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in substance abuse testing and treatment as directed by the
Probation Officer.

2. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ail of the payment options in the Schedu|e of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Tota| Assessment Tota| Fine Total Ftestitution
$300.00 * $2,003.56

The Specia| Assessment shall be due immediately

F|NE
No fine is imposed.

REST|TUT|ON

Ftestitution in the amount of * $2,003.56 is hereby orderedl The defendant shall
make restitution to the following victims in the amounts listed below.

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Priority
Tota| Amount of Order
Name of pa¥ee Amount Restitution Ordered or
of Loss Percentage
of Payment
Drug Enforcement $2,003.56 $2,003.56

liidministration1

50 Front Street
Suite 500

i\/lemphis, TN 38103

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified othenivise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

SCHEDULE OF PAYNIENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as foilows:

E. Specia| instructions regarding the payment of criminal monetary penalties:

Defendant shall pay restitution in regular monthly installments of not less than 10%
of gross monthly income. The Courtwaived the interest requirement The defendant
shall notify the Court and the United States Attorney of any material change in
economic circumstances that may affect the defendant’s ability to pay restitution.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment A|l criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financia| Fiesponsibllity Program, are made to the clerk of the
court, unless othenivise directed by the court, the probation officer, or the United States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

   

UNITED sTATE DISIC COUR - WESERNT D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 84 in
case 2:04-CR-20129 Was distributed by faX, mail, or direct printing on
May 25, 2005 to the parties listed.

 

 

Jeffrey J ones
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6540 Stage

Bartlett7 TN 3 8134

Stuart J. Canale

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

